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Stamatios Stamoulis #01790-1999
Richard C. Weinblatt #01571-2001
STAMOULIS & WEINBLATT LLC
800 N. West Street, Third Floor
Wilmington, DE 19801
Telephone: (302) 999-1540
Facsimile: (302) 762-1688
stamoulis@swdelaw.com
weinblatt@swdelaw.com

Raymond W. Mort, III (pro hac vice to be filed)
raymort@austinlaw.com
THE MORT LAW FIRM, PLLC
100 Congress Ave, Suite 2200
Austin, Texas 78701
Tel/Fax: (512) 865-7950

Attorneys for Plaintiff
Kamino LLC

                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY




  KAMINO LLC,

               Plaintiff                               Case No. 2:20-CV-1287

               v.                                      JURY TRIAL DEMANDED

  CASIO AMERICA, INC.,

               Defendant




                    COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Kamino LLC (“Plaintiff” or “Kamino”) hereby asserts the following

 claims for patent infringement against Defendant Casio America, Inc. (“Defendant”),

 and alleges, on information and belief, as follows:
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                                    THE PARTIES

1.    Kamino is a limited liability company organized and existing under the laws of

the Texas with its principal place of business at 17330 Preston Road, Suite 200D,

Dallas, Texas 75252.

2.    Defendant is organized under the laws of New York having a principal place of

business at 570 Mt. Pleasant Ave., Dover, NJ 07801 and may be served through its

registered agent Corporation Service Company, Princeton South Corporate CTR, Suite

160, 100 Charles Ewing Blvd., Ewing, NJ 08628.

                           JURISDICTION AND VENUE

3.    This action arises under the patent laws of the United States, 35 U.S.C. § 1, et

seq. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332, 1338(a)

and 1367.

4.    Defendant has committed acts of infringement in this judicial district.

5.    On information and belief, the Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the

state of New Jersey, has conducted business in the state of New Jersey, has sought

protection and benefit from the laws of the State of New Jersey, and/or has engaged in

continuous and systematic activities in the state of New Jersey.

6.    On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the

District of New Jersey.

7.    On information and belief, Defendant maintains a regular and established place

of business in this Judicial District at 570 Mt. Pleasant Ave., Dover, NJ 07801.



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8.     Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1400(b).

                                THE PATENT-IN_SUIT

9.     On August 20, 2002, United States Patent No. 6,435,686 (the “’686 patent”),

entitled "Light Conducting Plate for a Back Lighting Device and Back Lighting Device,"

was duly and lawfully issued by the U.S. Patent and Trademark Office. A true and

correct copy of the ’686 patent is attached hereto as Exhibit A.

10.    Kamino is the assignee and owner of the right, title and interest in and to the

’686 patent, including the right to assert all causes of action arising under said patents

and the right to any remedies for infringement of them.

           COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,435,686

11.    Kamino repeats and realleges the allegations of paragraphs 1 through 10 as if

fully set forth herein.

12.    Claim 1 of the ’686 Patent recites:

       1. A light conducting plate for a back lighting device, comprising:

       a light-inlet end face for introducing light emitted from a light source to
       be disposed facing said light conducting plate;

       a reflecting face for reflecting the light introduced through said light-inlet
       end face; and

       a light-outlet face disposed opposite to said reflecting face for allowing the
       light reflected from the reflecting face to emit therethrough,

       wherein said reflecting face includes a light-scattering region and a
       remainder region, and the remainder region is located on a side near to
       said light-inlet end face.

13.    Without license or authorization and in violation of 35 U.S.C. § 271(a),

Defendant has infringed and continues to infringe the ’686 patent by making, using,



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importing, offering for sale, and/or selling products, such as the Casio Pro Trek Smart

Watch products (the “Accused Products”).

14.    As exemplified below, the Accused Products includes a light conducting plate as

claimed by the ’686 Patent.

       1. A light conducting plate for a back lighting device, comprising:

The Accused Instrumentality includes a light conducting plate for a back lighting device.




       The light conducting plate of the Accused Instrumentality is part of display apparatus.

The light conducting plate includes a light-inlet end face, a reflecting face, and a light outlet face.

The reflecting face includes a light-scattering region and a remainder region




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       a light-inlet end face for introducing light emitted from a light source to be
       disposed facing said light conducting plate;

       The Accused Instrumentality includes a light-inlet end face for introducing light emitted

from a light source.




                               Light Inlet Face




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                           Light Inlet Face




                                    Light Inlet Face




       a reflecting face for reflecting the light introduced through said light-inlet
       end face; and

       The Accused Instrumentality includes a reflecting face for reflecting the light introduced

through the light-inlet end face.




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       a light-outlet face disposed opposite to said reflecting face for allowing the
       light reflected from the reflecting face to emit therethrough,

       The Accused Instrumentality includes a light-outlet face disposed opposite to the

reelecting face for allowing the light reflected from the reflecting face to emit therethrough.




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       wherein said reflecting face includes a light-scattering region and a
       remainder region, and the remainder region is located on a side near to
       said light-inlet end face.

       The reflecting face includes a light-scattering region and a remainder region. The

remainder region is located on a side near to the light-inlet face.




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15.   Kamino is entitled to recover from Defendant the damages sustained by Kamino

as a result of Defendant's infringement of the ’686 patent in an amount subject to proof

at trial, which, by law, cannot be less than a reasonable royalty, together with interest

and costs as fixed by this Court under 35 U.S.C. § 284.

                               PRAYER FOR RELIEF

      WHEREFORE, Kamino requests that this Court enter judgment against

Defendant as follows:

      A.     An adjudication that Defendant has infringed the ’686 patent;

      B.     An award of damages to be paid by Defendant adequate to compensate

Kamino for Defendant's past infringement of the ’686 patent and any continuing or

future infringement through the date such judgment is entered, including interest,


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costs, expenses and an accounting of all infringing acts including, but not limited to,

those acts not presented at trial;

       C.     A declaration that this case is exceptional under 35 U.S.C. § 285, and an

award of Kamino's reasonable attorneys' fees; and

       D.     An award to Kamino of such further relief at law or in equity as the Court

deems just and proper.

                                      JURY DEMAND

       Plaintiff demands trial by jury, Under Fed. R. Civ. P. 38.



                                     Respectfully submitted,

 Dated: February 6, 2020             /s/ Richard C. Weinblatt
                                     Stamatios Stamoulis #01790-1999
                                     Richard C. Weinblatt #01571-2001
                                     STAMOULIS & WEINBLATT LLC
                                     800 N. West Street, Third Floor
                                     Wilmington, DE 19801
                                     Telephone: (302) 999-1540
                                     Facsimile: (302) 762-1688
                                     stamoulis@swdelaw.com
                                     weinblatt@swdelaw.com

                                     Raymond W. Mort, III (pro hac vice to be filed)
                                     raymort@austinlaw.com
                                     The Mort Law Firm, PLLC
                                     100 Congress Ave, Suite 2200
                                     Austin, Texas 78701
                                     Tel/Fax: (512) 865-7950

                                     Attorneys for Plaintiff
                                     Kamino LLC




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